          Case 1:22-cv-00339-SPB Document 27 Filed 11/07/22 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 PENNSYLVANIA STATE CONFERENCE                    )
 OF THE NAACP, et al.,                            )
                                                  ) Civil Action No.: 1:22-cv-00339
                 Plaintiffs,                      )
                                                  )
         v.                                       ) Judge Susan P. Baxter
                                                  )
 LEIGH M. CHAPMAN, et al.,                        )
                                                  )
                 Defendants.                      )

               INDIVIDUAL VOTERS’ AND REPUBLICAN COMMITTEES’
                            MOTION TO INTERVENE

        David Ball, James D. Bee, Debra Biro, Jesse D. Daniel, Gwendolyn Mae DeLuca, Ross M.

Farber, Lynn Marie Kalcevic, Vallerie Sicilano-Biancaniello, and S. Michael Streib (together,

“Individual Voters”) and the Republican National Committee, National Republican Congressional

Committee, and Republican Party of Pennsylvania (together, “Republican Committees”), support

and seek to uphold free and fair elections on behalf of all Pennsylvanians. The Individual Voters

and the Republican Committees therefore respectfully move to intervene as defendants to defend

the General Assembly’s duly enacted laws governing the elections in which the Individual Voters,

and the Republican Committees, their candidates, their voters, and their supporters, exercise their

right to vote and their constitutional rights to participate in elections.

        Just last week the Republican Committees prevailed in the Pennsylvania Supreme Court

on the very issue presented in Plaintiffs’ Complaint in this Court. In particular, ruling on the

petition filed by the Republican Committees, the Pennsylvania Supreme Court held that the

General Assembly’s date requirement for absentee and mail-in ballots is mandatory and lawful

and, thus, that election officials may not count any absentee or mail-in ballot that fails to comply
           Case 1:22-cv-00339-SPB Document 27 Filed 11/07/22 Page 2 of 3




with it. See Order, Ball v. Chapman, No. 102 MM 2022 (Pa. Nov. 1, 2022) (per curiam).

Moreover, in addressing a request for a stay following Pennsylvania’s 2022 primary election, three

Justices of the U.S. Supreme Court concluded that the notion that the date requirement violates the

federal materiality provision, 52 U.S.C. § 10101(a)(2)(B), is “very likely wrong.” Ritter v.

Migliori, 142 S. Ct. 1824, 1824 (2022) (Mem.) (Alito, J., dissenting from the denial of the

application for stay).   No other Justices addressed the merits of the issue in that stay posture.

       Plaintiffs now ask the Court to create a split of authority with the Pennsylvania Supreme

Court and to depart from the opinion of three Justices by holding that the date requirement violates

the federal materiality provision. See Compl. ¶¶ 57–63 (Dkt. No. 1). The Individual Voters and

the Republican Committees submit the accompanying Memorandum of Law demonstrating that

they satisfy the requirements for intervention of right under Federal Rule of Civil Procedure 24(a)

or, in the alternative, permissive intervention under Federal Rule of Civil Procedure 24(b). The

Individual Voters and the Republican Committees attach as Exhibit 1 the Motion to Dismiss they

would file if permitted to intervene in this matter and as Exhibit 2 the Answer and Affirmative

Defenses they would alternatively file if permitted to intervene. 1

       Counsel for the Individual Voters and the Republican Committees contacted counsel for

Plaintiffs regarding Plaintiffs’ position on this motion but did not receive a response before filing

this motion.




       1
          Intervenor-Defendants prefer to file their Motion to Dismiss rather than an Answer to
Plaintiffs’ Complaint, but Rule 24 does not specify whether a motion to dismiss satisfies the
requirement to provide “a pleading that sets out the claim or defense for which intervention is
sought.” Fed. R. Civ. P. 24(c). Therefore, in an abundance of caution, Intervenor-Defendants also
attach a proposed Answer.


                                                  2
         Case 1:22-cv-00339-SPB Document 27 Filed 11/07/22 Page 3 of 3




       WHEREFORE, the Individual Voters and the Republican Committees respectfully request

that the Court GRANT this motion and permit the Individual Voters and the Republican

Committees to intervene as defendants in this proceeding.



Dated: November 7, 2022                            Respectfully submitted,

                                                   /s/ Kathleen A. Gallagher
                                                   Kathleen A. Gallagher
                                                   PA I.D. #37950
                                                   Russell D. Giancola
                                                   PA. I.D. #200058
                                                   GALLAGHER GIANCOLA LLC
                                                   436 Seventh Avenue, 31st Floor
                                                   Pittsburgh, PA 15219
                                                   Phone: (412) 717-1900
                                                   kag@glawfirm.com
                                                   rdg@glawfirm.com

                                                   John M. Gore *
                                                   E. Stewart Crosland
                                                   JONES DAY
                                                   51 Louisiana Avenue, N.W.
                                                   Washington, D.C. 20001
                                                   Phone: (202) 879-3939
                                                   jmgore@jonesday.com
                                                   scrosland@jonesday.com

                                                   Thomas W. King, III
                                                   Thomas E. Breth
                                                   DILLON, McCANDLESS, KING,
                                                    COULTER & GRAHAM, LLP
                                                   128 W. Cunningham St.
                                                   Butler, PA 16001
                                                   Phone: (724) 283.2200
                                                   tking@dmkcg.com
                                                   tbreth@dmkcg.com

                                                   Counsel for Petitioners

                                                   * Pro hac vice application forthcoming




                                               3
